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UNITED STATES DISTRICT COURT                        SOUTHERN DISTRICT OF TEXAS

                                   HOUSTON DIVISION

Laddy Curtis Valentine, et al.
  Plaintiff(s),

v.                                                        Case No. 4:20−cv−01115

Bryan Collier, et al.
   Defendant(s).



                             NOTICE OF SETTING
                                 PLEASE TAKE NOTICE

                                 HEARING: Motion Hearing
                                 RE: Motion to Compel − #199
                                  Emergency Motion − #200
                                  Motion to Compel − #200
                                      DATE:    7/8/2020
                                     TIME:    01:00 PM
                                  HAS BEEN SET BEFORE
                                 JUDGE KEITH P. ELLISON

                            UNITED STATES COURTHOUSE
                             515 RUSK COURTROOM 3−A
                               HOUSTON, TEXAS 77002.

          ALL PARTIES MAY APPEAR BY TELEPHONE BY CALLING IN
             ON THE COURT'S DIAL−IN NUMBER AT 713−250−5238.
        ENTER CONFERENCE ID: 45238, FOLLOWED BY PASSWORD: 13579.




David J. Bradley, Clerk                                                 Date: July 8, 2020

By Deputy Clerk, A. Rivera
